Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg.1of17

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known) Chapter you are filing under:
Cl Chapter 7
I Chapter 14

D Chapter 12

DO Chapter 13 0 Check if this is an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on Monica

 

 

 

 

 

 

your government-issued =“ First name First name
picture identification (for
example, your driver's L.
license or passport). Middle name Middle name
Bring your picture
identification to your Coleman
Last name and Suffix (Sr., Jr., li, 1) Last name and Suffix (Sr., Jr., 11, HN)

meeting with the trustee.

 

2.  Allother names you have

used inthe last8 years = Monica L. Wylie Coleman
Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-8849
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg. 2of17

Debtor 4

Monica L. Coleman

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

| have not used any business name or EINs.

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

C2 | have not used any business name or EINs.

 

Business name(s)

 

Business name(s)

 

EIN

 

EIN

 

5. Where you live

23523 Old Ranch Road
Alpine, CA 91901

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

San Diego

Number, Street, City, State & ZIP Code

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

™@ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

0 _sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

0 _sOver the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

0 _sthave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1

Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg.3of17

Monica L. Coleman Case number (if known)

 

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under O Chapter 7

Hi Chapter 11

DO Chapter 12

0) Chapter 13

8. How youwill pay the fee MH | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

Ci ‘I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

Oi! request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HNo

bankruptcy within the ,
last 8 years? O Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy HENo
cases pending or being
filed by aspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your HE No. Go to line 12.

residence?

0 Yes. Has your landlord obtained an eviction judgment against you?
oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg.4of17

Debtor? Monica L. Coleman Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time EE No. Go to Part 4.
business?

0 yes. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

 

 

Number, Street, City, State & ZIP Code

Ooooaa

 

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
Chapter 11 of the proceed under Subchapter V so that it can set appropriate deadlines. \f you indicate that you are a small business debtor or
Bankruptcy Code, and you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
are you a small business cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.

debtor or a debtor as § 1116(1)(B).
defined by 17 U.S.C. §
1182(1)?
OONo. | am not filing under Chapter 11.
For adefinition of smaif
business debtor, see 11 No | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). , Code.
O Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and

| do not choose to proceed under Subchapter V of Chapter 11.

0 Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Doyouownorhave any gy No.
property that poses or is
alleged toposeathreat 1 Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any . .
property that needs If immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

 

urgent repairs?
Number, Street, City, State & Zip Code

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg.5of17

Debtor 1

Monica L. Coleman

Explain Your Efforts to Receive a Briefing About Credit Counseling

About Debtor 1:
You must check one:

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

| received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

OU _sSsiIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O_sCODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

O_ Active duty.
1 am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

Oo

I received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

1am not required to receive a briefing about credit
counseling because of.

1 sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_sDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

OO Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy

page 5
 

Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg.6of17 Ni

Debtor1 Monica L. Coleman Case number (if known)

EER Answer These Questions for Reporting Purposes

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
you have? individual primarily for a personal, family, or household purpose.”

C1 No. Go to line 16b.

 

BB Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

0 No. Go to line 16c.
0 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

 

 

 

17. Are you filing under HENo, !amnot filing under Chapter 7. Go to line 18.
Chapter 77 ;
Do you estimate that O Yes. !am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt are paid that funds will be available to distribute to unsecured creditors?
Property is excluded and
administrative expenses OONo
are paid that funds will
be available for O Yes
distribution to unsecured
creditors?
18. How many Creditorsdo 4.49 D 1,000-5,000 C0 25,001-50,000
yout —ae that you [150-90 0 5001-10,000 1 50,001-100,000
is 0 100-199 0 10,001-25,000 0D More than100,000
D 200-999
19. How much do you CZ $0 - $50,000 B $1,000,001 - $10 million CO) $500,000,004 - $1 billion
aera na assets to [7] $50,001 - $100,000 C $10,000,001 - $50 million TZ $1,000,000,001 - $10 billion
ewe C1 $100,001 - $500,000 ($50 000.001 - $100 million C $10,000,000,001 - $50 billion
$50,000, $ a
1 $500,001 - $1 million C1 $100,000,001 ~ $500 million D More than $50 billion
20. How much do you O $0 - $50,000 Bi $1,000,001 - $10 million DO $500,000,001 - $1 billion
eee your liabilities  [) $50,001 - $100,000 C1 $10,000,001 - $50 million C2 $1,000,000,001 - $10 billion
tobe 1 $100,001 - $500,000 C1 $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
0 $500,001 - $1 million 1D $100,000,001 - $500 million O More than $50 billion

 

 

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If |have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

and 3571, (: Q

 

 

 

Monica L. Coleman Signature of Debtor 2
Signature of Debtor 1
Executedon 10 19-2 Executed on
MM/DD/YYYY MM/DD/YYYY

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33. Doc1 Pg. 7of17

Debtor 1

Monica L. Coleman

Case number (if known)

 

 

For your attorney, if you are
represented by one

if you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the

schedules filed with the petition is incorrect.

/s/ Michael Jay Berger Date

Signature of Attorney for Debtor

Michael Jay Berger

Printed name

_Law Offices of Michael Jay Berger

Firm name

9454 Wilshire Boulevard, 6th floor

Beverly Hills, CA 90212
Number, Street, City, State & ZIP Code

Email address

(310) 271-6223

Contact phone

100291 CA

Bar number & State

 

10/18/2021
MM /DD/YYYY

michael.berger@bankruptcypower.c
om

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy

page 7
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33 Doc1 Pg. 8of17

Fillin this information to identify your case:

 

 

 

Debtor 4 Monica L. Coleman

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF CALIFORNIA

Case number
(if known) O Check if this is an

amended filing

 

 

B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims Against You and Are Not Insiders 12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not include Claims by Insiders.

Unsecured claim

What is the nature of the claim? 2017 Dodge $4,031.00
Challender n/a miles
Debtor co-signed for
her son. The vehicle is
in Colorado where
Debtor's son resides.
He is the one driving

 

 

 

 

 

 

the vehicl
Ally Financial
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 380901 QO Contingent
Bloomington, MN 55438 O Unliquidated
oO Disputed
wl None of the above apply
Does the creditor have a lien on your property?
QO No
Contact a Yes. Total claim (secured and unsecured) $19,031.00
Value of security: - $15,000.00
Contact phone Unsecured claim $4,031.00
¥ What is the nature of the claim? 2018 Ford F150 $3,116.00
Pick-up Truck 62,000
miles
Vehicle is financed.
Debtor's spouse
drives the vehicles
B104 (Official Form 104) For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 1

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Case 21-04069-MM11_ Filed 10/18/21

Debtor 1 Monica L. Coleman

Ally Financial

Attn: Bankruptcy

Po Box 380901
Bloomington, MN 55438

 

 

 

Case number (if known)

Entered 10/18/21 20:53:33 Doc1

Pg. 9 of 17

 

and makes the

payments of $542 per

month. Payment

As of the date you file, the claim is: Check all that apply
oO Contingent

oO Unliquidated
oO Disputed
| None of the above apply

Does the creditor have a lien on your property?

 

 

 

 

 

 

 

 

 

 

 

oO No
Contact B Yes. Total claim (secured and unsecured) $29,116.00
Value of security: - $26,000.00
Contact phone Unsecured claim $3,116.00
What is the nature of the claim? Credit Card $10,627.00
Amex
Correspondence/Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 981540 O Contingent
El Paso, TX 79998 QO Unliquidated
oO Disputed
H None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
4 What is the nature of the claim? Credit Card $3,925.00
Bank of America .
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 982234 O Contingent
El Paso, TX 79998 D0 Unliquidated
CO Disputed
Y | None of the above apply
Does the creditor have a lien on your property?
a No
Contact Oo Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Credit Card $5,369.00

FJ Barclays Bank Delaware

Attn: Bankruptcy
Po Box 8801
Wilmington, DE 19899

 

B 104 (Official Form 104)

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As of the date you file, the claim is: Check all that apply
O Contingent

0 Unliquidated
oO Disputed
w None of the above apply

Does the creditor have a lien on your property?

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Page 2

Best Case Bankruptcy
Case 21-04069-MM11

Debtor 1 Monica L. Coleman

 

Contact

 

Contact phone

Filed 10/18/21 Entered 10/18/21 20:53:33 Doc 1

Case number (if known)

Pg. 10 of 17

 

= No
0 Yes. Total claim (secured and unsecured)

Value of security: -
Unsecured claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- | What is the nature of the claim? Credit Card $3,470.00
Capital One
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 30285 O Contingent
Salt Lake City, UT 84130 Oo Unliquidated
oO Disputed
B None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Credit Card $2,757.00
Capital One
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 30285 O Contingent
Salt Lake City, UT 84130 oO Unliquidated
oO Disputed
| None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
F | What is the nature of the claim? Credit Card $2,436.00
Capital One
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 30285 O Contingent
Salt Lake City, UT 84130 oO Unliquidated
oO Disputed
ul None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Credit Card $1,813.00

P| Capital One

Attn: Bankruptcy
Po Box 30285
Salt Lake City, UT 84130

 

B 104 (Official Form 104)

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As of the date you file, the claim is: Check all that apply
Oo Contingent
O Unliquidated

For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Page 3

Best Case Bankruptcy
Case 21-04069-MM11_ Filed 10/18/21 Entered 10/18/21 20:53:33 Doc 1

Pg. 11 of 17

 

 

 

 

Debtor 1 Monica L. Coleman Case number (if known)
oO Disputed
H None of the above apply
Does the creditor have a lien on your property?
a No
Contact QO Yes. Total claim (secured and unsecured)

 

Contact phone

Value of security: -
Unsecured claim

 

 

 

 

 

 

 

 

 

 

 

What is the nature of the claim? Charge Account $711.00
Capital One
Attn: Bankruptcy As of the date you file, the claim is: Check ail that apply
Po Box 30285 O Contingent
Salt Lake City, UT 84130 oO Unliquidated
oO Disputed
wl None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
[| What is the nature of the claim? Credit Card $1,339.00
Credit One Bank
Attn: Bankruptcy Department As of the date you file, the claim is: Check all that apply
Po Box 98873 O — Contingent
Las Vegas, NV 89193 oO Unliquidated
oO Disputed
B None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Credit Card $714.00

12
[=] First National Bank

Attn: Bankruptcy
Po Box 3128
Omaha, NE 68103

 

 

Contact

 

Contact phone

 

As of the date you file, the claim is: Check all that apply
QO Contingent

OD Unliquidated
oO Disputed
B None of the above apply

Does the creditor have a lien on your property?

a No
oO Yes. Total claim (secured and unsecured)

Value of security: -
Unsecured claim

 

B 104 (Official Form 104)

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For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Page 4

Best Case Bankruptcy
Case 21-04069-MM11

Debtor 1 Monica L. Coleman

 

 

 

Filed 10/18/21 Entered 10/18/21 20:53:33 Doc 1

Case number (if known)

Pg. 12 of 17

 

 

 

 

 

 

 

 

 

 

 

 

 

What is the nature of the claim? Credit Card $400.00
Merrick Bank/CardWorks
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 9201 O — Contingent
Old Bethpage, NY 11804 oO Unliquidated
oO Disputed
Bw None of the above apply
Does the creditor have a lien on your property?
a No
Contact O Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
| What is the nature of the claim? Credit Card $10,672.00
Navy FCU
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 3000 C1 Contingent
Merrifield, VA 22119 oO Unliquidated
O Disputed
wl None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
aa What is the nature of the claim? Credit Card $10,672.00
Navy FCU
Attn: Bankruptcy As of the date you file, the claim is: Check all that apply
Po Box 3000 Oo Contingent
Merrifield, VA 22119 Oo Unliquidated
0 Disputed
|] None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Charge Account $2,399.00

| Synchrony Bank/Lowes

Attn: Bankruptcy
Po Box 965060
Orlando, FL 32896

 

 

B 104 (Official Form 104)

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As of the date you file, the claim is: Check all that apply
|

Contingent
oO Unliquidated
oO Disputed

nH None of the above apply

Does the creditor have a lien on your property?
a No

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Page 5

Best Case Bankruptcy
 

Case 21-04069-MM11

Filed 10/18/21 Entered 10/18/21 20:53:33

 

 

_Doc1 Pg. 13 of 1

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Monica L. Coleman Case number (if known)
Contact Oo Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Credit Card $2,750.00
Wells Fargo Bank NA
1 Home Campus Mac X2303-01a As of the date you file, the claim is: Check all that apply
3rd Floor o Contingent
Des Moines, IA 50328 Oo Unliquidated
oO Disputed
B None of the above apply
Does the creditor have a lien on your property?
a No
Contact oO Yes. Total claim (secured and unsecured)
— Value of security: - =
Contact phone Unsecured claim
Sign Below
Under penalty of perjury, | declare that the information provided in this form is true and correct.
x xX
Monica L. Coleman Signature of Debtor 2
Signature of Debtor 1
Date Ip-1¥-Zi Date
B 104 (Official Form 104) For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 6
Best Case Bankruptcy

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csp 1008 [08/21/00]

Name, Address, Telephone No. & I.D. No.
Michael Jay Berger

9454 Wilshire Boulevard, 6th floor

Beverly Hills, CA 90212

(310) 271-6223

100291 CA

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "EF" Street, San Diego, California 92101-6991

In Re
Monica L. Coleman BANKRUPTCY NO.

Debtor.

VERIFICATION OF CREDITOR MATRIX

 

PART | (check and complete one):
M New petition filed. Creditor diskette required. TOTAL NO. OF CREDITORS:_18

© Conversion filed on . See instructions on reverse side.
O Former Chapter 13 converting. Creditor diskette required. TOTAL NO. OF CREDITORS:_____
0)  Post-petition creditors added. Scannable matrix required.
1 There are no post-petition creditors. No matrix required.

O Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
Equity Security Holders. See instructions on reverse side.
1 Names and addresses are being ADDED.
0 Names and addresses are being DELETED.
C1 Names and addresses are being CORRECTED.

PART II (check one):
HM The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

C1 The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
the filing of a matrix is not required.

Date: _|o~18-21 (Wnica b&mon

Monica L. Coleman
Signature of Debtor

REFER TO INSTRUCTIONS ON REVERSE SIDE
CsD 1008

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CSD 1008 (Page 2) [08/21/00]

 

 

 

INSTRUCTIONS
1) Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.
2) A creditors matrix with Verification is required whenever the following occurs:

a) A new petition is filed. Diskette required.

b) A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

c) An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3) The scannable matrix must be originally typed or printed. It may not be a copy.
4) CONVERSIONS:

a) When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

b) For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5) AMENDMENTS AND BALANCE OF SCHEDULES:

a) Scannable matrix format required.

b) The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

c) Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
on the same page in alphabetical order.

6) Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.
CSD 1008

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Ally Financial

Attn: Bankruptcy

Po Box 380901
Bloomington, MN 55438

Amex
Correspondence/Bankruptcy
Po Box 981540

El Paso, TX 79998

Bank of America
Attn: Bankruptcy
Po Box 982234

El Paso, TX 79998

Barclays Bank Delaware
Attn: Bankruptcy

Po Box 8801
Wilmington, DE 19899

Capital One

Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130

Champaign County Assessment Of
1776 East Washington Street
Urbana, IL 61802-4581

Credit One Bank

Attn: Bankruptcy Department
Po Box 98873

Las Vegas, NV 89193

First National Bank
Attn: Bankruptcy

Po Box 3128

Omaha, NE 68103
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Hany Elwany
8131 Camino Del Oro
La Jolla, CA 92037

Hany Elwany, Ttee of Hany Elwa
c/o Action Foreclosure Svs
7839 University Ave, #211

La Mesa, CA 91942

Joseph Barr & Associates
9820 Willow Creek Road Ste 230
San Diego, CA 92131

Merrick Bank/CardWorks
Attn: Bankruptcy

Po Box 9201

Old Bethpage, NY 11804

Navy FCU

Attn: Bankruptcy

Po Box 3000
Merrifield, VA 22119

Synchrony Bank/Lowes
Attn: Bankruptcy

Po Box 965060
Orlando, FL 32896

Treasurer Tax-Collector
San Diego County

1600 Pacific Hwy, Room 162
San Diego, CA 92101

Wells Fargo Bank NA

1 Home Campus Mac X2303-0la
3rd Floor

Des Moines, IA 50328
